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                                      No. 16-576C

                                   (Filed: July 8,2016)                    FILED
                                                                          JUL   - 8 2016
OLIVER-VAUGHN DOUCE AL-DEY,
                                                                        ,83;Soo.'St?'fit
                      Plaintiff,



THE UNITED STATES,

                      Defendant.



                                        ORDER

        On May 13,2016, plaintiff in the above-captioned case, appearing p1s_Se,
frled a complaint in this court. Dkt. No. 1. Plaintiff also filed with his complaint
an application to appear in forma pauperis (IFP Application), seeking permission
to proceed without paying the court's filing fee. Dkt. No. 2.

       The court determined that plaintiff s history of frivolous, repetitive, and
vexatious litigation barred him from proceeding in forma pauperis pursuant to 28
U.S.C. $ 1915, and thus denied his application. Order, June 8,2016, ECF No. 7.
The court provided notice to plaintiff that failure to remit the filing fee by July 1 ,
2016, would result in dismissal of his complaint pursuant to Rule 4l (b) of the
Rules of the United States Court of Federal Claims. Id. at 3.

     As of the date of this order, plaintiff has not paid the required filing fee.
      plaintiff has failed to comply with the court's order, this action is
Because
DISMISSED without prejudice.

       IT IS SO ORDERED.



                                               TRICIA E. CAMPB
                                            ChiefJudge
